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American Medical Response, Inc. v. City of Stockton
United States District Court- Eastern District No. 2:05-CV-01316-DFL-PAN

LEWIS DEPO
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IN THE UNITED STATES DISTRICT COURT

IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA

AMERICAN MEDICAL RESPONSE, INC.,
a Delaware Corporation,

Plaintiff,
No. 2:05-CV-01316-DFL~PAN
vs.
CITY OF STOCKTON, a California ff Wit.
Municipality A Vim
P SO ui
Defendants.

AND RELATED CROSS ACTIONS

DEPOSITION OF MARK LEWIS

DATE: Wednesday, August 10, 2005,

at 1:26 p.m.

DEPOSITION OFFICER: BOBBIE JO HARR

CSR No. 6090,

TAKEN AT:

GAROUTTE'S

120 North Hunter Street, Suite 104
Stockton, California 95202

GAROUTTE'S
Certified Shorthand Reporters
120 North Hunter Street, Suite 104
Stockton, California 95202

RMR

(209) 942-2100 or Nationwide (800) 942-2103

FAX (209) 942-2150

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MARK LEWIS,
the deponent herein, having been first duly and regularly
sworn by the Certified Shorthand Reporter, deposed and

testified as follows:

** EXAMINATION BY MR. SIMON **
MR. SIMON: Good afternoon, Mr. Lewis.
A. Good afternoon, sir.
Q. I'm David Simon. I'm one of the attorneys for
AMR. I'm going to be asking you some questions today.
You're currently employed as the City Manager

for the City of Stockton?

A. Yes, sir.
Q. How long have you been in that position?
A. A little less than five years.

Q. 2000 or so?

A. 2001.

Q. 2001.

What did you do before that?

A. City Manager of Union City, California.

Q. For how .long?

A. |About six years.

Q. I want to ask you about the decision by the City
to. enter into the emergency ambulance service in 2002 or

So.

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Do you recall being involved in any discussions
about the potential of the City Fire Department entering

into the emergency ambulance service business?

A. Yes.
Q. When did you first have discussions about that?
A. I don't recall the specific months, but it was

some time during 2002.

Q. How was the subject matter brought to your
attention?

A. From the Fire Department.

Q. The Fire Department came to you with a proposal

to enter into the business?

A. No.
Q. How did the Fire Department bring up the issue?
A. They were concerned about response times from the

ambulance providers and the number of ambulances that were

available at any one time to serve the public.

Q. And they came to you with those concerns?
A. Yes.
Q. Who from the Fire Department presented those

concerns to you?
A. The Chief and a number of his Deputy Chiefs.
Q. Was that Chief Gillis at the time?
A. Yes.

Q. Was Deputy Chief Hafey there?

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A. Not that I remember, but there were other Chiefs
there that I can't remember exactly which ones they were.
But there was a lot of gold and blue in the room, I
remember that.

Q. What was your response to the Fire Department?

A. Well, I shared their concern, you know. We have
a commitment to our public to provide high-quality EMS
service, and their issues related to the -- our ability to
provide that service. We had -- they were telling me we
had instances where there were not the necessary number of
ambulances within the City to properly provide coverage,
and that -- that our response times to calls were lagging

as a result of that.

Q. Okay. Did you suggest that the Department
conduct some sort of feasibility study or investigation
into potentially starting its own ambulance service?

A. I think that they had already done some work
along those lines. Real tentative fashion, anyway.

Q. So what was the next step?

MR. COLVIG: Object as overbroad.

You can answer.

MR. SIMON: Q. After this, did something -- some
course of action emerge from this meeting that you had
with the Fire Department?

A. It was just more a dialog, more a suggestion.

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Asked for more information.

Q. Did you have subsequent meetings with the Fire
Department about the provision of ambulance services?

A. I'm sure I did. I can't remember. It was
probably kind of more of an ongoing dialog. It was one of
their major concerns that the public get adequate service.

Q. Did they ever present to you a business plan for
entering into this --

A; At some point along that, they did.

Q. Okay. Did either the Fire Department or your
office ever engage a third-party consultant to evaluate
the Fire Department's business plan?

A. T don't think we did, a third-party analysis.

No, I do believe there was -- we have a group of really
high qualified analysts in our office. I'm pretty sure
that we had some internal review.

Q. What were the results of the internal review of

the Fire Department's business plan?

A. The big issue, again, was response times and
the -- our ability to improve service delivery to the
public. And there was the feeling -- the belief was that

if we added some additional ambulances into the system,

that we'd be able to stabilize it and improve response

times fairly dramatically just by having increased

quantity of ambulances into the system and the fact that
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there -~- we'd know where they were and what they're doing
all the time, that that would stabilize the service
delivery.

Q. Was the plan that was brought to you to add Fire
Department ambulances to the existing competitive
landscape with private party ambulances currently
providing -- then currently providing services?

A. Right. It was just to provide some additional
ambulances into the system, as I mentioned, to stabilize
it and improve response times.

Q. Did the City ever contemplate trying to obtain
the exclusive right for the Fire Department to provide
emergency ambulance service in the City?

MR. COLVIG: Hold on. Object as vague and
ambiguous. In the City? Him, the Fire Department, the
Council, or what?

MR. SIMON: Q. Let's start with your office.

A. T'm sorry, can you ask that question again?

Q. Let me ask it a different way.

Did you ever learn of efforts by anyone to give
the Stockton Fire Department the exclusive right to
provide emergency ambulance services in the City of
Stockton?

A. By ourself?

Q. Yeah.

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Q. Did you personally have any ‘discussions with any
City Council members about repayment of the start-up funds

that had been allocated to the program?

A. I don't recall whether I ever had personal
discussions.
Q. In approving the Fire Department's proposal, did

the City Council express a view of when the start-up funds
would be repaid to the general fund?

MR. COLVIG: I'm going to object as calling for
speculation, and vague and ambiguous as to the City
Council which is a body expressing. Anybody asking
questions during a session, is that kind of what you mean?

MR. SIMON: Yeah. That actually -- I'll address
the objection by rephrasing the question.

Q. Were you present at the City Council meeting
where the Fire Department's plan was approved?

A. Yes, sir.

Q. At that meeting, was there any discussion about
the start-up fund?

A. I can't recall specifically, although there
probably was. The primary concern though again wasn't the
start-up costs, it was the issue of providing better
public service. And I remember very clearly the night
that the Council approved it, the program, there was one

ambulance in the Stockton metro area, and it had come from
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Modesto to cover. And I -- I think at that point it was
just -- I think what the issue the Council was trying to
address is that we needed to be able to get into the
market to be able to stabilize it by at least providing a
base number of equipment and personnel into the system to
stabilize it, to be able to provided reasonable response
times.

Because the privates could come and go and, you
know, their resources could get called to other places
and other venues, and could be doing, you know, hospital
to hospital transfers, could be doing nursing home
transfers. And we needed to have at least a basic
number of high-quality ambulances available to the
public. And that was our effort.

Q. Did you ever see an analysis of the Fire
Department's plan proposed by the Carlson Group?

A. I don't think so. I don't even know who the
Carlson Group is.

Q. What information was presented to the City
Council in support of the Fire Department's proposal to
enter the ambulance service business?

A. There was a staff report and an analysis.

Q. Was a business plan that the Fire Department had
prepared also provided to the City Council?

A. I'm not sure that it is -- whether it was an
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a year, two years?
A. I think within any reasonable time frame, you

know. At some point, you know, we anticipated that our

revenues would exceed our expenses, and as that did, you

know, those excessive revenues over expenses would then be
paid back to the -- for the start-up costs.

Q. Has your office ever communicated to the Fire
Department dissatisfaction about the fact that thus far it
hasn't been able to repay any money?

A. Not really, no. I'm a typical -- not at all,
teally, but I'm a typical City Manager, and I've always
kind of got one eye on the revenue and one eye on the

expenses.

Q. Have you been the recipient of any communications
from members of the City Council expressing
dissatisfaction with the fact that the Fire Department has
not been in a position to pay any of the start-up funds
back?
A. Not that I recall. But I often receive feedback
rom them that they're really happy with the level of
service that we're now providing in the community, the
ambulance system itself is providing. If you want to have
a heart attack, you want to have it here right now.

Q. I'll keep that in mind.

MR. COLVIG: No, thanks.
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Q. Is it oral updates, or do you actually get formal |
"Here's the status of the EMS program"?

A. I meet bi-weekly with the Chief and monthly with
the Fire Union, and between the two of them, I'm pretty

current with what's happening.

Q. Okay. Are you familiar with a company called

AIS?
A. No, not as I'm sitting here.
Q. Do you understand that the Fire Department uses a

third-party vendor to do its billing?

A. Yes.

Q. Does AIS ring a bell as the --

A. Vaguely.

Q. Vaguely. Do you ever receive any reports -- EMS
status reports relating to the revenue side of the program
that are generated by AIS?

A. Only after it has been through the Fire
Department.

And I don't see their reports personally, no.

Q. This is provided to the City Manager's office?

A. No.

Q. Okay. Just available at the Fire Department if
you are -- if you wanted to see it?

A. Right.

Q. And you have seen these reports?

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A. Not their reports, no.

MR. COLVIG: Mark, slow down and let Mr. Simon
finish his questions.

MR. SIMON: Q. When did you first hear that San
Joaquin County was seriously considering enacting an
Exclusive Operating Area for emergency ambulance service

that would include the City of Stockton?

A. I don't recall specifically, but I think it was
sometime during 2002. I don't remember.
Q. Did you hear anything that led you to an

understanding of why the county was considering making
that change?

A. Not really. You know, I heard that they were
upset with the -- what they perceived was friction between
the various ambulance companies from -- actually, from my
perspective, I thought the system was working much better
than it ever had and was working out its kinks and bumps
along the road. And I would have been happy to have that
continue the way it was.

From the time that we entered into the
ambulance system and brought our equipment and personnel
into it, other ambulance companies also brought in
additional personnel and equipment, and the public
really got the best benefit out of it, you know. Our

ambulances were now responding in almost the same time
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Q. Did the prospect of a county-wide Exclusive
Operating Area that would include the City of Stockton
concern yau?

MR. COLVIG: I object as vague and ambiguous.

You can answer.

THE WITNESS: You know, I've seen the systems
operate, and one of the fallbacks with an exclusive area
is that the provider tries -- tries to maximize his
resources and equipment to -- you know, to the most
efficient extent he can and still comply with the
contract, because he's got a -- you know, a profit motive
to do so.

And that doesn't always inure to the public's
benefit. And so, from my perspective, the system that
they had in place where, you know, the City of Stockton
had jumped in and provided a base -- a base number of
ambulances and equipment, and then the private providers
kind of capped it over the top with, you know, a
competitive market, was fine. I think it served the
public well.

Q. Did you contemplate the prospect of an exclusive
contract covering the City of Stockton that the City of
Stockton Fire Department wasn't participating in?

A, I'm sorry, I don't understand your question.

Q. That's a bad question.

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A. Rarely do I do anything like that. I don't
remember anything.
Q. Okay. Did you ever hear anything from the County

Board in connection with its deliberations over the EOA

that led you to believe that the County wanted ambulance

providers to cooperate, to respond to its anticipated RFP?

MR. COLVIG: I'm going to object as vague and
ambiguous as to "cooperate."

You can answer.

THE WITNESS: I don't remember, no.

MR. SIMON: Q. Were you involved at all in the
decision regarding how the City Fire Department should

respond to the County decision to create a county-wide

EOA?

A. Was I involved in how we would respond? Yes,
sir.

Q. Describe for me what your role was in that
process.

A. As the final decision maker, I would guess. A

lot of work done by a lot of different people on that
subject.

Q. Did the Fire Department take the first crack at
developing a strategy and then come and present something
to you, or were you involved in the actual development

of --

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A. No, I wasn't involved in the actual development.
They presented their thoughts.

Q. What did the Fire Department present to you in
terms of their thoughts on dealing with the announced
county-wide OA?

MR. COLVIG: Object as vague as to time.

MR. SIMON: @Q. I guess I'd like to focus on the
first -- the first communication on the topic. If you can
pin that to a date, that would be great.

A. Not really, I can't. But I -- it was never their
intent or our intent that they would respond to be the
exclusive operator. You know, we -- our -- our intent was
to, again, to provide a basic stability to the system, and
so if we were going to respond, we would only respond with
a partner, a private partner.

And the City enters into dozens of

public-private partnerships. It is something that we do

well, and we -- we do a lot of.
Q. Did the Fire Department recommend to you that
the -- that the Department identify a private sector

partner to respond to the County RFP?

A. Yes, they did.

Q. During your first discussions on this topic, had
the Fire Department identified the prospective partner or

partners that it was considering joining with to respond

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THE REPORTER: You said something after that, and
I didn't get it.
THE WITNESS: I'm sorry, I don't remember, SO...
THE REPORTER: You have to slow down.
THE WITNESS: My wife tells me that all the time.
MR. SIMON: Q. Did you agree with the Fire
Department's recommendation to approach the County RFP
with a private partner?
A. Yes, I concurred with that.

Q. Did you agree with their proposal to partner with

A. Yes, I did.

Q. Were you aware that there was another private
party provider that was also included in the contemplated
relationship, A-One Ambulance?

A. Yes. There was a very small ambulance provider
that both Lou Meyer and Chief Gillis had a long personal
business relationship with, and both of them wanted to
kind of protect her in the whole scheme of these things
going on.

Q. Okay.

A. And I was fine with that. I was happy to do
that.

Q. Did the issue of partnering with AMR and A-One go

up to the City Council?

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the coin, providing guidance to them to -- to come up with

an agreement that was workable and that all the parties
were satisfied with it. -Occasionally I'd step in and make
a series of decisions to help them get close to where they
needed to get.

Q. Did you attend any meetings with the Fire
Department and AMR where the Agreement was being
discussed?

A. Only occasionally.

Q. Who on the City side were the people principally
responsible for negotiating the Agreement with AMR?

A. Chief Hafey, and then there was Chief Hittle and
Chief Gillis. I think those are the three primary
parties. There are a host of other staff players there.
Those are the primary people.

Q. You talked about instances where you had to
engage in the process and make decisions. Can you
identify for me on what issues you got involved and made
decisions?

A. When they would reach, you know, some kind of a
minor impasse and I'd help them kind of get over that next
hurdle.

Q. What were the minor impasses?

A. I don't know.

There was -- there were some operating issues

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of which I don't really remember, nor were very
important to me, to be honest with you. But the
importance was that they reach an agreement on them and
that they work them out.

There was issue related to first responder fees
that were in the original Joint Venture Agreement that
AMR felt like would be an impediment in the bidding
process, and we worked through those, that set of
issues. Got a resolution on that.

There was an issue of, you know, how much of
the start-up costs, you know, we would be able to carry
into the Joint Venture Agreement. And we agreed that
each party could carry the same amount of start-up
costs, whatever they would be. I forget exactly what
they were at this point.

And so each party would have the same amount,
whatever that amount was. And I think there were some
paramedic protocol issues, and who knows what else they
were working on, but...

There were some merging of culture issues, none
of which seemed to be, you know, road blocks, as far as
‘I was concerned.

QO. The first issue identified relating to first
responder fees. Do you remember when that hurdle

presented itself that required your involvement?

A. I think sometime within the last few months of
our negotiations before they ended.

Q. You said that the parties were able to work
through that issue. What was the issue related to first
responder fees?

A. It is a little bit complicated. But -- I don't
know how much, you know, about fire departments and
ambulances and --

Q. More than T did a month ago.

A. Okay. Well, years ago, fire departments, if they
had an EMT on the engine, that was a big thing. Today's
environment, fire departments normally staff up with at
least one paramedic and maybe two, and we do, too. And we
are the first responder. If you get into a car wreck
driving home tomorrow night or wherever you go.

Q. Heart attacks, car wrecks:

A. Great conversation, huh?

Somebody dials 911. Goes into our dispatch
center. We dispatch an engine company. And sometimes a
truck company, depending on whether you're on the
freeway or not. And we'll get there to you pretty
quickly, within four, six minutes, somewhere in that
time frame.

We will stabilize you, give you treatment. And

traditionally what used to happen in the past before

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there were so many ambulances in our system, then you
would wait for an ambulance to come pick you up. And it
could be anywhere from, you know, eight minutes to 10,
12, 15 minutes, depending where you were.

And then traditionally what happens is that
either our paramedic will hop into the ambulance and
ride with you to the hospital with our engine company
following behind, and then when they get you tothe
hospital, our paramedic will sign you off as -- to the
hospital and make sure that there's a transition from
dur guys to the ambulance guys to the emergency room at
the hospital, so that you don't die in the waiting room
or wherever else, you know. That happened to a lawyer
that's visiting us there. So -- and then our engine
company goes off.

And traditionally, the engine companies didn't
get its expenses for all of that work, you know, the
showing up first and then all of that that takes place.
The engine -- we never billed for it and that's just --
the ambulance company billed their bill and the hospital
billed their bill, and in my mind the real heroes on the
job never got compensated for it.

And over the last, I don't know, less than ten
years in California, there's been a real effort to

figure out how to -- how to compensate the engine

company for providing that service. And ina lot of

places in California, the value of that service has been

-recognized by the ambulance companies. I mean, they

understand that while they're trying to optimize their
system, that they -- they need to really have as a
critical part of that emergency care system the engine
company. Because without it, if we didn't show up on
the scene, if you waited for an ambulance, if you were
in that car wreck, you may not make it. Probably
wouldn't make it if you were serious -- if it was a
Serious accident.

So as part of our Joint Venture Agreement,
since, you know, it is a critical part of the EMS
system, we put in there that there would be first
responder fees as part of the proposal. And then AMR,
during their discussions with the County, I think felt
that -- that additional level of cost would be a
detriment to our joint venture proposal.

And initially the Fire Department was pretty
resistant to it because -- you know, for the reasons
that I just described. And that -- I know Stockton is
kind of the big fish in the pond here. And -- but there
are a great number of these smaller jurisdictions around
us, fire districts and smaller cities that kind of

depend on us to tead the way. And so we, you know, just

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gave up on it. You know, all of these other fire

departments and smaller districts wouldn't -- you know,
they're -- they're pretty much out of -- a fish out of
water, so to speak, they wouldn't -- you know, they

wouldn't be lost in the shuffle.

So there was a real resistance on their part
to, you know, just to give up on it. And the issue
finally popped up to my level, and I basically made the
call that our Joint Venture Agreement at this point was
more important to the City than hanging in there for all
of the little fire districts on first responder fees.

And there was a notion that later somehow, you
know, we'd either get compensated through some other
part of the Agreement or, you know, we'd go back later
to the Board of Supervisors and see if we could get that

fixed or somehow we would be made whole in it.

And that's --
Q. That was the work through?
A. That was it, yeah.
Q. Okay. Did you get involved in any specific
discussions about the ultimate -- how the Fire Department

would be made whole?
A. Not really. It was just assured that Lou and

Gary and Gillis had an agreement that it would be done,

and that was fine with me.

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Q. Okay. The second issue you identified was

related to start-up costs?

A. Uh-huh.

Q. Can you explain what that issue was and how it
came to your attention?

A. There was ~- there was a notion that through
our -- you know, we were going to get half the profits out
of this joint venture, and that chroughout our joint
venture profits, we would pay back our start-up costs.
And there was an issue of -- you know, when you put -- put
the Joint venture together, how much of that start-up cost
gets put into that joint venture account and how much
doesn't?

Just like if you were -- are you a business
lawyer? Just like if you were starting up a company
and, you know, when you start up a company, there's a
certain amount of debt that gets thrown into that -- to
that start-up cost for the company.
And so there's -- that was -- that was what

that discussion was about. And initially our guys
wanted to put all of their start-up costs into it, and
AMR said, "That will make us top heavy." “And the
agreement that was eventually reached was that we
wouldn't do that, that we would put in whatever they put

in.

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So they put in $100, we'd put in $100. If they

put in a million dollars, we'd put in a million dollars.
And then whatever was left out, you know, was out of the
Joint Venture Agreement and, you know, from our
standpoint, we'd just recover it over the long term to

our half of the profits, whatever they would be.

Q. Do you recall how much -- or was it ever agreed,

I guess, how much each party would put into the new
venture?

A. I don't remember exactly what it was. But the
anderlying agreement was whatever they put in, we'd put
in. That was the deal.

Q. Do you know whether an agreement was reached on

what the amount would be?

A. Yeah, there was.

Q. You just don't remember what the amount was?

A. Right.

Q. Okay. When were you involved in addressing the

start-up cost issue?

A. Before the other issue.
Q. Before first responder?
A. Yeah.

Q. Calendar year 2005?
A. Well, I'm guessing, yeah. Yeah.

In my mind, these are real typical discussions

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that. do take place when you're having these kind of

meetings, nothing extraordinary.

Q. Did you ever tell anybody from AMR that it was
critical to the City that this venture that would be
responding to the RFP would generate sufficient revenue to
pay back the start-up costs?

A. I don't really remember doing that. But, again,
I'm a typical City Manager, and I probably could have very
well have said, you know, "Hey, one of our goals is to,
over the long term, recover our costs." But I didn't have
very many, 1£ -- independent discussions with AMR. [In
fact, I don't think I ever had any, other than to shake
hands and -- and where I was the sole person in there,
there was a sole AMR guy there, there was always somebody
else there.

Q. At those kinds of meetings where you were present
and AMR representatives were present, did you ever hear
anyone from AMR express concern about the notion of, you
know, recovering these costs over time?

A. The one -- the meeting where we reached agreement
where we'd put in what they put in, whatever it was,
that's -- I'm sure that kind of discussion was had.

Q. . All right. After this agreement was reached
about each side putting in equal amounts, were there any

subsequent discussions that you were involved in about
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start-up costs?
A. Not that I remember. No, I was pretty much
the -- they would bounce these decisions up to me, we'd
make a call on it, and expected my guys to follow through,
and they did. Try not to revisit the same thing more than
once.
MR. SIMON: Off the record.
(Off the record.)
MR. SIMON: Q. The agreement that was reached on

start-up debt, was that memorialized in any way?

A. I'm assuming it was. I think it was, yeah.

Q. Do you recall in what form?

A. This should be in the Agreement that they were
negotiating.

Q. The ultimate --

A. Operating Agreement or whatever it was.

Q. Okay. You had mentioned two other issues where
you got involved. One was about paramedic protocol. Can

you just tell me briefly what that was?

A. I don't remember what the detail was.

Q. A minor issue?

A. I thought it was pretty minor.

Q. What about merging of culture issues, what were

you referring to there?

A. Well, you had -- you know, in a private company,
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and then you have a Fire Department, you know, one's a

public company and one's a private company. And you merge

those two together, and there's a bunch of little issues
that you got to work out. Like I said, we -- I love
public-private partnerships. We do dozens of them. And
there's a common set of issues you got to work through.

Q. And you characterize these as minor issues?

A. Sure. Like, you know, certain -- their union,
our union. You know, where you house the ambulances, all
those kinds of things, you know. In time, if everybody
has good faith, you'll work those things through.

Q. I want to back up in time a little bit to the --
2003, when AMR and the City were negotiating the original
Agreement relating to their relationship.

A. Uh-huh.

Q. I assume you were aware as City Manager of the
Memorandum that was signed in like May, June, 2003,
between the City, A-One, and AMR?

A. I think there were two agreements. One was a

Letter Agreement, and the other was a Joint Venture

Agreement.
Q. I'm talking about the first one, which -- in
fact, it is -- I'll slow you Exhibit 1. On the bottom.

Exactly where you'd expect it to be.

Is Exhibit 1 the Letter Agreement that you were

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just referring to?
A. If I could just have two seconds.
Q. Sure, take your time.

Do you recognize Exhibit 1?

A. Yes.

Q. What is your understanding of what that document
is?

A. It was the first Agreement between the -- first

Joint Venture Agreement between the City of Stockton and
AMR and A-One.

Q. Did you personally play any role in negotiating
the terms of Exhibit 1?

A. I wasn't the lead negotiator in these
negotiations, but I did participate, to some degree.

Q. Do you recall any particular issues in which you
were involved relating to the terms of Exhibit 1?

A. I think I was kind of involved in most of them,
to some degree. Some very little and some a little bit
more.

Q. Which ones were you more involved in negotiating?

A. Probably a little bit more involved in Item
Number 4, and to a little degree to Item Number 5. To
some degree in 6. Pretty much -- that was pretty much it,
I think.

Q. Did you sign this Agreement on behalf of the
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City?

A. Uh-huh, that's my signature.

Q. What was your --

A. Doesn't look like my signature, huh?

Q. I won't comment.

What was your understanding of the intent of

Exhibit 1?

A. This was our Agreement to enter into a joint

venture with the three parties that I talked about.

-Q. For what purpose?
A. To respond to the County RFP.
Q. You indicated that you were more involved in the

negotiation of Item Number 4, and from memory, I think
Item Number 4 -- maybe I can --

A. Pass it back and forth, how's that?

Q. Deals with the effect of one of the parties from
withdrawing from the relationship. And tell me, if you
could, what the nature of your involvement in the
negotiation of that provision was.

A. Well, we didn't want -- we didn't want to happen
what happened. We didn't want to spend all of our time
and effort working with a joint venture partner and have
them withdraw and leave us high and dry. And that's --
that was -- the provision was to prevent that from

happening. We didn't want to be with somebody for two
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years and then walk up to the threshold there and then
have them drop you.
Q. Did the City propose inclusion of that term in
the Memorandum?
MR. COLVIG: Hold on. I'm going to object as
vague and ambiguous.
You can answer.
THE WITNESS: By "the City," do you mean us, me,
Fire Department, everybody?
MR. SIMON: Q. Yeah, I meant everybody globally.
A. Globally.
I think it was a mutual provision. I think
both parties wanted that protection.
Q. Do you recall whose idea it was to include that
provision in the Agreement?
MR. COLVIG: I object as overbroad. Vague and
ambiguous. You mean on behalf of the City, or anybody?
MR. SIMON: No.
MR. COLVIG: Who raised it the first time, or
what?
MR. SIMON: Q. Yeah, that's my question. Who
raised it the first time?
A. I would gather -- to guess, I -- my recollection
is it was a provision that both parties wanted to have

protect -- for protection. I don't -- AMR didn't want us
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to -- wanted the same level of protection that we did, I

think, on that.

Q. And you don't recall who the first person to
raise the idea was?

A. I really don't.

I do remember the language was negotiated. So
it was -- there was some give and take in the
construction of it.

Q. In what respect was the language negotiated?

A. I just -- I don't remember exactly. I do
remember that there was some give and take, and that AMR
went back to their legal side a couple of different times,
and, you know, we had our legal guys look at it, and it
was wordsmithed.

Q. Do you recall how the language was changed as a
result of the negotiations?

A. Not specifically, but it was changed. I think
your colleague over there was involved in the wordsmithing
of that provision, as I remember.

Q. When you use the term "wordsmithing," was the
concept ever changed, or was it just a matter of how the
concept was articulated in the document that was being
discussed?

A. I think the underlying concept was fairly well

maintained through the wordsmithing, as I remember.
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Q. The Joint Venture Agreement labeled Exhibit 28
contemplated a subsequent agreement between the parties,
correct?

MR. COLVIG: Object as-vague and ambiguous and
overbroad. Calling for legal conclusion.

You can answer.

THE WITNESS: It was -- there was always
contemplated that there would be a more detailed Operating
Agreement between the parties that described the actual
day-to-day operations of the new joint venture.

And that Agreement would deal with the real
lower level of detail about everything from, you know,
how you collected your accounts receivable and who did
what, to paramedic protocol and how you responded to
calls, and the operating procedures between --
harmonized between the two organizations.

Q. At the time the Joint Venture Agreement was
signed, were the parties ina position at that time to
submit a bid to the County in response to an RFP?

A. I don't understand your question.

Q. Had the parties reached agreement on how services
would be provided to address accounting RFP at the time
Exhibit 28 was signed?

MR. COLVIG: Object as vague and ambiguous and

overbroad.
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You can answer.

THE WITNESS: I think so, yeah. There's
obviously a lot of detail to be worked out, but there -- I
think there was enough understanding with these two
agreements to submit a response to the County.

MR. SIMON: Q. Did you understand that the
parties had. enough agreement on operational issues to
calculate a bid price at the time the Joint Venture
Agreement was signed?

A. You'll never have that level of information until

you're just ready to submit the bid.

Q. Okay. And that wasn't in June of 2004?

A. The bid was just released here in the last couple
of weeks.

Q. Do you recall as the parties were trying to

finalize the terms of their Operating Agreement and bid,
AMR expressing concerns about the City's cost structure?
A. Yes.

Q. Who from AMR expressed those concerns? Did you

hear directly from them, or are you hearing this through

the Fire Department? |

A. I think at one point I heard it directly from Lou

Meyers.
Q. All right.

A. And at that point, we embarked on a major effort
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to restructure our costs. We went into immediate
negotiations with our Fire Union, which is no easy task,
and get them to agree to significant concessions,
take-backs, to restructure our costs. And that was
completed just a month ago, which will result in
Significant savings to not only us, but also to the joint
venture.

Q. What did Mr. Meyer tell you about his view of the
City's cost structure?

A. Just that our costs were not in alignment with
theirs, and that we needed to restructure ours so they're
a little more in parallel, more in harmony. And we agreed
and went and restructured and got the union to agree to a
whole series of take backs and signed -- took the changed
MOU back to the City Council, and the Council approved it.

Q. I'm sorry, I didn't follow the last part.

AY Oh, once we reached agreement with the union, we
took it to City Council, and the Council approved it.

Q. When did that happen?

A. Within the last month.

Q. Some time in July?

A. Uh-huh. Probably mid July, early July.

Q. Do you recall discussions with AMR about forming
a single entity LLC to submit the bid to the County?

A. Just generally.

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Q. What were you told about the LLC issue?

MR. COLVIG: By who?

MR. SIMON: I just want to know what he heard,
and I guess I'll ask him who.

MR. COLVIG: I instruct you not to answer about
any conversations you had with counsel.

Ask him about others, and then I'll object as
vague and ambiguous and overbroad.

Go ahead and answer, with that instruction.

THE WITNESS: I'm not sure how to answer that.
There were a couple of different formats that they were
thinking. about using as the vehicle for the Joint Venture
Agreement, everything from a JPA to a -- you know, an LLC
to some other partnership form. And I wasn't really

overly concerned about whatever form it would take as long

as it reflected the original -- as long as that form
reflected the -- the underlying Agreement of the joint
venture.

And that's -- that's -- I think the Fire

Department had some other concerns related to the
structure, but my bottom line was as I just articulated.

Q. Did you ever hear that AMR had concerns about
the -- the joint venture as it currently was constituted
being an anti-trust problem?

A. Early on.
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MR. COLVIG: Again, I'1l just caution you not to
talk about conversations you had with counsel.

THE WITNESS: Okay. Yeah, early on, and that --
when they were talking about the initial Joint Venture
Agreement and the subsequent one, and I think it was part
of the reason why they wanted to tweak the language a
little bit, and I was fine with that.

MR. SIMON: Q. Did you ever hear that AMR had
any trust concerns with the arrangement after the Joint
Venture Agreement, Exhibit 28 was signed?

A. No.

Q. Did you ever hear any connection between the --
AMR's desire to form an LLC and compliance with the
anti-trust laws?

A. No. Again, I -- like I said, I wasn't -- I
wasn't really concerned to the form of the final
Agreement, as long as it was in harmony with our earlier
Joint Venture Agreement.

Q. Let me preface this question by saying I don't
want you to tell me about legal advice you received. But
did you ever seek legal advice about the anti-trust
implications with the City's relationship with AMR?

A. Our lawyers were aware of what AMR's concerns
were, and both parties, both lawyers, felt like those

issues were fairly dealt with.

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Q. That was going to be my next question. Is it
listed as a -- as an asset or as an expense item?
A. It was probably expensed in the years that they
were occurred -- incurred.
Q. So if we went pouring through the, I'm sure a

thousand-page City budget, we're not going to find a line
item that reflects --

A. We spend a million dollars a day for City
operations.

Q. And half of that on your law firm?

MR. COLVIG: I hope. I wish. Half of that is my

salary.
THE WITNESS: Don't take any of that down.
Quit it, you guys.
MR. SIMON: Q. So --
A. Keep my legai counsel in order here.
Q. So to the best of your recollection, the start-up

funds were just treated as an expense in the year that
they were allocated?

A. That's my best guess.

Q. Okay. Are you aware of confidential proprietary
business information that the Fire Department shared with
AMR?

A. Just generally.

Q. What's your general understanding of the nature
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of that information?

A. That they -- at AMR's request, they shared with
them their payor mix, their accounts receivable
collections, and other related financial information.

Q. The payor mix information, can you give me a
little bit more detail as to what you're referring to?

A. That -- you know, out of 100 calls, so many of
them were insurance, so many of them were Medicare, SO-
many of them wére private pays, and, you know, what their
collection percentages were for each one and as it related
to specific areas of the City. Because every area of the
City is a little bit different. some areas are quite
different than other areas. If you're in Brookside,
you've got one kind of a payor mix, and if you're in
southeast Stockton, you got a whole other mix.

Q. Is it your view that that information would not
be available to the public?

A. No, it would not be.

Q. Has that ever been requested in a public records
request?

A. No.

Q. Why do you feel that that information is not

available to the public?
A. First of all, there's no Single report that's

available. It is all information that's just collected.
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It is not -- and then secondly, it is -- it is just simply

confidential financial information, which we wouldn't

release.

It has to do.with whether or not you pay your

bills or not. And what your insurance is and individual

parties.

If you're a -- if you had ambulance service and

you had -- you owed us some money for that services, all

that information would be confidential related to whether

you paid your bill and when you paid it, who paid it for

you, what was your insurance, how long it took to pay,

where you lived. All that information would be not

subject to public disclosure.

Q.

Would your answer be different if the information

was contained in a document or series of documents and it

was aggregated and de-identified so that it didn't reflect

a particular individual's information but rather general

percentages?

A. Not really.

Q. Why would that not be --

A. Because it would be --

Q. I'm sorry. Let me just -- for the transcript.
Why would that not be a public record?

A. Because it goes back to the base data.

Q. So your position is that because the aggregated

data is supported by individual specific data, that it is

confidential and wouldn't be disclosed?

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Q. When did they tell you that?

A. Within the last year.

Q. Does the City's fiscal year '05-'06 budget for
emergency ambulance services assume that the City will at

least participate in the county's exclusive operating

area?
A. I don't really understand your question.
Q. Are the revenue projections that the City has

used for its budget for the emergency ambulance service
department, do those numbers assume that the City is
participating in providing services under the EOA?

A. Do you mean do we assume that we're in business?

Because if we're not participating in the EOA, we're out

business.

Q. Okay. So the answer is yes?

A. To certainly -- to some degree, yeah, there's an
assumption in there. And if we're not in the -- if we

don't get to bid, then we're going to shut down, it's that
simple.

Q. Okay. How did you learn that AMR was withdrawing
from the relationship with the City?

A. Lou Meyer.

Q. What did he tell you?

A. He said, "They're withdrawing."

Q. What was the context of that conversation?
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A. We had a scheduled meeting to work out the last
few issues related to the Agreement, the Operating
Agreement. And the -- said he wanted to meet with me
before the meeting.

And I said, "Well, you know, I'd just as soon
have my guys in there." So I brought in the Chief anda
couple of other guys. And I think that he had -- he
might have been alone. I don't remember. He might have
had somebody with him.

And he basically said for three reasons, they

were going to go -- end the Agreement and go on their
own.
Q. What were the reasons he gave you?
A. First was that they had been testing the Board of

Supervisors on the whole joint venture process, and he
thought we were a political liability.

The second was that there seemed to be some
problems with his guys working with our guys working out
the details of the Agreement, and that they'd reached
frustration with that.

And the third reason was that he felt like his
reputation would suffer if he ended up in a joint
venture with the City.

Q. Did he explain why he thought his reputation

would suffer?

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A. Not really. It was a short meeting.
Q. What did you say in response?
A. I said I was surprised, I was shocked, really.

That I was going to hold him accountable. My belief is
and is today is that we have an Agreement and that we
relied on that Agreement. They brought us all the way up
to this point in time. We spent two years on this. And
we're right at a week away from the proposals being
issued, and he dumps us, basically, takes the bride to the
altar and says, "Sorry, we're not getting married."

And puts -- you know, puts us in a really
noncompetitive position. You know, my initial thought
was that we'd have to shut down and not go forward.

You know, basically immediately shut down to
save money because there's no sense in proceeding to
offer that service to the public if we were -- if we

weren't going to compete.

Q. You ultimately decided not to do that?
A. Ultimately decided not to do that.
Q. We'll talk about that in a second.

A. And that was it. They packed up their bags and
left. We had an exchange of letters, and that was it.

Q. So you were surprised to hear that AMR had made
the decision to withdraw?

A. I was shocked.
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Q. What was the date of that meeting, do you

remember?
A. Not as I'm sitting here, but it was a couple,

three weeks ago.

Q. June?
A. Yeah.
Q. I was looking for a letter here.
A, If you want me to find it.
Q. No, that's all right. We can Figure it out from

the documents.

A. Probably June 23rd.

Q. That sounds right.

Was it your view that during the last months of
negotiations between AMR and the Fire Department, that
the -- that AMR was attempting to extract concessions
Erom the City that hadn't been previously agreed to?

A. Not really. My view was that there was some hard -
negotiations taking place on both sides, and that the
routine would follow that they'd either reach an agreement
on them or they'd pop them up to my office and I'd
facilitate an agreement, which I'd done all the way to
this point.

Q. And at the time you had this meeting with Mr.

Meyer, there weren't any pending disputes or issues that

had percolated up to you?
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A. I was told that there were a couple of issues
that had popped up, and my response to them was that,
bring them in and we'll resolve them and solve them and
we'll be off to the races.

Q. Do you know what those issues were?

A. Not that I'm -- as I'm sitting here, I really
don't. We never really had a chance to talk about them.

Q. After your initial reaction of maybe we're going
to have to shut down the ambulance service.

A. Uh-huh. It was so late in the process, we

didn't -- we didn't have time to -- we wouldn't have had
time to -- we didn't believe we'd have time to find

another partner. And then to put a bid together, and it
was a huge problem. Major problem.

Q. When did you make the decision to continue to
pursue the bid?

A. We got our guys together, and they were
absolutely committed to make it happen. They all
committed to work weekends and nights and Saturdays and
Sundays and holidays and kids' birthdays, wives!
anniversaries, and do whatever it took to make it happen.
And I said, "Fine, I'm with you."

Q. How long after the meeting with Mr. Meyer did
that discussion take place?

A. Within a couple of days.
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STATE OF CALIFORNIA )
COUNTY OF SAN JOAQUIN ) ss.

I, BOBBIE JO HARR, Certified Shorthand Reporter herein,
do hereby certify:

That on August 10, 2005, 2005, at 1:26 p.m., the.
witness herein, MARK LEWIS, was duly sworn:

That said witness' testimony and the proceedings had at
the time of such testimony were taken down in shorthand
notes by me; I thereafter caused said shorthand notes to be
transcribed into longhand typewriting, the following being a
full, true, and correct transcription therein;

That I am a disinterested person, and am not in any way
interested in the outcome of said action; nor connected with
mor related to any of the parties in said action, nor to
their respective counsel; ,

---000--- .

On August 11, 2005, all counsel were given notice of
tthe preparation of the deposition, and the original
deposition was available for reading, correcting, approval,
or signing in our offices until September 15, 2005.

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The witness signed the deposition and made no
corrections.

The witness and parties waived examination and reading
of the deposition at the time of the taking of the
deposition.

The witness corrected, approved, or refused to approve
the deposition by letter to me attached thereto, and copies
of the letter were sent to all counsel.

The witness failed to appear at my office.

The witness appeared in my office, made changes to the
deposition, and counsel were provided with copies of the
changes.

The witness refused to approve or sign the deposition
for the following reasons:

Other:

IN WITNESS WHEREOF, I have hereunto subscribed my hand.
DATE: _
bbhiz hy kel ~
BOBBIE JO MARR, CSR NO. 6090, RMR
COUNSEL: YOU WILL BE NOTIFIED OF ANY CHANGES OR CORRECTIONS
TO THE. DEPOSITION. CONTACT OUR OFFICE IF YOU HAVE ANY
QUESTIONS. ,

